
Parker C. J.
This case appears to be like that of Canton v. Bentley. The pauper never lost her settlement in Middleborough, having gained none in Wilton. Had she gained a settlement in that town before the separation, that would have continued notwithstanding the separation, and by that means she would have lost her settlement in Middle-borough, and the leaving her in Middleborough would have been within the provision of the statute ; but her settlement in Middleborough remaining, it was no breach of the statute to leave her there.1

Plaintiffs nonsuit.


 See Sanford v. Emery, 2 Greenl. 5; Greenfield v. Cushman, 16 Mass. R. 393; Deerfield v. Delano, 1 Pick. 465.

